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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

LUIS ARAÑA,

                             Petitioner,                   Nos. 03-CV-73023
vs.                                                             95-CR-80272

UNITED STATES OF AMERICA,

                       Respondent.
_________________________________/


                            OPINION AND ORDER DENYING
                           CERTIFICATE OF APPEALABILITY

                              At a session of said Court, held in
                             the U.S. Courthouse, Detroit, Michigan
                             on             June 3, 2009

                             PRESENT: Honorable Gerald E. Rosen
                                      Chief Judge, United States District Court

       This matter is before the Court on the request of the Sixth Circuit Court of Appeals

for a decision as to whether a certificate of appealability should issue with respect to

Petitioner Araña’s appeal of this Court’s denial of his 2255 Motion to Vacate, Set Aside or

Correct Sentence.

       Before a prisoner may appeal a federal court’s dispositive decision denying him §

2255 relief, a certificate of appealability must issue. 28 U.S.C. § 2253(c)(1)(B), Fed. R.

App. P. 22(b). The court must either issue a certificate of appealability indicating which

issues satisfy the required showing or provide reasons why such a certificate should not



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issue. 28 U.S.C. § 2253(c0(3); Fed. R. App. P. 22(b); In re Certificates of Appealability,

106 F.3d 1306, 1307 (6th Cir. 1997).

       A certificate of appealability may be issued “only if the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The

substantial showing threshold is satisfied when a petitioner demonstrates “that reasonable

jurists would find the district court’s assessment of the constitutional claims were debatable

or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000).

       Petititioner Araña advanced 10 claims in his 2255 motion. With respect to

Petitioner’s first claim -- that the trial court abused its discretion when it denied Petitioner’s

request that testimony regarding evidence of other crimes or wrongs that occurred prior to

the alleged conspiracy should have been excluded as improper character evidence -- the

Court found that, based on well-established Sixth Circuit precedent, Petitioner was

precluded from re-litigating this claim because this issue was already actually litigated and

disposed of on direct appeal. It is well-settled that a § 2255 motion may not be used to

relitigate an issue that was raised and disposed of on appeal absent highly exceptional

circumstances. See DuPont v. United States, 76 F.3d 108, 110 (6th Cir. 1996); United

States v. Brown, 62 F.3d 1418 (6th Cir. 1995), cert. denied, 516 U.S. 942 (1995); Warren v.

United States, 1994 WL 486625 (6th Cir. 1994). See also Stephan v. United States, 496

F.2d 527, 528-29 (6th Cir.1974), cert. denied, 423 U.S. 861 (1975) (rejecting a defendant’s

attempt to relitigate issues in a habeas action that had already been litigated on direct

appeal).


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       The Court also found that Petitioner had procedurally defaulted on seven of his other

claims and that Petitioner had failed to demonstrate any legally cognizable “cause” and

“prejudice” to overcome his procedural defaults. Therefore, the Court found Petitioner’s

claims II and V-X to be barred. The remaining claims advanced by Petitioner challenged

the constitutional effectiveness of his counsel. The Court, however, determined that none

of the “errors” of counsel Petitioner complained satisfied the test for ineffective assistance

of counsel established by the Supreme Court in Strickland v. Washington, 466 U.S. 668

(1984). Therefore, the Court found no basis for relief in these claims.

       After reviewing the Court’s ruiling and having carefully considering the record of

this matter, the Court finds that jurists of reason would not find the Court’s assessment of

Petitioner claims to be debatable or wrong. See Slack, supra,, 120 S.Ct. at 1604.

Therefore, the Court concludes that Petitioner is not entitled to a certificate of appealability.

       Accordingly,

       IT IS HEREBY ORDERED that no Certificate of Appealability should issue for

purposes of Petitioner’s appeal of the Court’s denial of his 2255 Motion to Vacate, Set

Aside or Correct Sentence.



                             s/Gerald E. Rosen
                             Chief Judge, United States District Court


Dated: June 3, 2009




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I hereby certify that a copy of the foregoing document was served upon counsel of record
on June 3, 2009, by electronic notification and to Luis Arana, #51905-04, USP Victorville,
U.S. Penitentiary, P.O. Box 5300, Adelanto, CA 92301 by ordinary mail.

                            s/Ruth Brissaud
                            Case Manager




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